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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:22−cr−00115
                                                         Honorable John Robert Blakey
Michael J. Madigan, et al.
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 3, 2022:


         MINUTE entry before the Honorable Jeffrey Cole as to Michael J. Madigan:
Initial appearance and Arraignment set before Judge Cole on 3/9/22 at 1:30pm.
Instructions will be emailed to counsel. Members of the public and media will be able to
call in to listen to this hearing. Please call (888) 684−8852, access code 5618926.#.
Persons granted remote access to proceedings are reminded of the general prohibition
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these prohibitions may result in sanctions, including removal of court issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Emailed notice (yt)




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